CS MAGISTRATE JUDGE CHERYL L. POLLAK                      DATE     ¥
Case 1:16-cv-01766-MKB-CLP Document 36 Filed 09/07/16 Page 1 of 1 PageID #: 603
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                                                     TIME SPENT: _ _ _ _ _ __

DOCKETNO.         J fe w /7 b G
CASE:       6.1   ~       ~J                vi

                                         - - OTHEWSTATGSCO~~ERENCE
_ _ INITL.U CO'l\.FERENCE
~DISCOVERY CON"FERENCE                   - - FIN.AL/PRETRIAL CO~TfERENCE
-/ - SETTLEME0JT CONFERENCE              - -
                                             TELEPHONE CONFERE'N'CE
- - MOTIO~ HEARING                       - - ORAL ARGUME-"JT
~DATORY       DISCLOSURE:

---     COMPLETED                   - - -- - DATE TO BE COMPLETED BY

FOR PLAINTIFF:



FOR DEFENDANT:



_ _ DISCOVERY TO BE COMPLETED BY_ _ _ __ _ __ _ _ _ __ __

_ _ ~EXTC ONFERENCESCHEDULEDFOR_ _ _ _ _ _______ _ _______

        DUNTON ISSUE ADDRESSED


PL. TO SERVE DEF. BY: ___________                DEF. TO SERVE PL. BY: _ __   _

RULil"GS:



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